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10                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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      ORLANDO GARCIA,                             No. 2:21-cv-00087-JAK-AGR
12
                     Plaintiff,                   ORDER RE STIPULATION FOR AN
13                                                ORDER STAYING FURTHER
            v.                                    PROCEEDINGS AND DEADLINES
14                                                (DKT. 22)
      OASIS WEST REALTY LLC, a Delaware
15    Limited Liability Company, and Does 1-10,
16                   Defendants.
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     Case 2:21-cv-00087-JAK-AGR Document 23 Filed 04/09/21 Page 2 of 2 Page ID #:329



 1          Based on a review of the parties’ Stipulation for an Order Staying Further
 2    Proceedings and Deadlines (the “Stipulation” (Dkt. 22)), sufficient good cause has been
 3    shown for the requested relief. Therefore, the Stipulation is APPROVED, and this action
 4    is STAYED pending decisions by the Ninth Circuit in Love v. Marriott Hotel Services,
 5    Inc., No. 21-154, Arroyo v. JWMFE Anaheim, LLC, No. 21-55237, and Garcia v.
 6    Gateway Hotel L.P., No 21-55227 (collectively, “Appeals”). The parties shall submit a
 7    joint status report, not to exceed five pages, within fourteen (14) days after a decision is
 8    issued in any of the Appeals, stating their respective and/or collective views as to
 9    appropriate next steps in this action.
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      IT IS SO ORDERED.
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12     DATED: April 9, 2021
                                                      John A. Kronstadt
13                                                    United States District Judge
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